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 4   Telephone: (916) 554-2932
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 7
                       IN THE UNITED STATES DISTRICT COURT
 8
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,            )    CASE NO. 2:10-cr-00413 MCE
11                                        )
                        Plaintiff,        )    STIPULATION AND ORDER
12                                        )    CONTINUING STATUS CONFERENCE
     v.                                   )
13                                        )    DATE: March 2, 2012
     JUAN MANUEL CUEVAS, AND              )    TIME: 9:00 a.m.
14   HUGO CHAVEZ-DELACRUZ,                )    COURT: Hon. Morrison C. England
                                          )
15                                        )
                        Defendants.       )
16                                        )
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          IT IS HEREBY STIPULATED by and between Assistant United
20
     States Attorney Paul Hemesath, counsel for Plaintiff; J. Toney,
21
     counsel for defendant Juan Manuel CUEVAS; and Gilbert Roque, counsel
22
     for defendant Hugo Chavez DELACRUZ, that the above status conference
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     be rescheduled from this Court’s March 2, 2012, calendar, and that
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     the matter be re-calendared for March 22, 2012, at 9:00 a.m.         This
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     request is made jointly by the government and defense in order to
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     permit time for continued preparation, including investigation which
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     is currently in progress, and plea negotiations.
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 1   The parties agree that the interests of justice served by granting
 2   this continuance outweigh the best interests of the public and the
 3   defendant in a speedy trial.
 4          IT IS FURTHER STIPULATED that time be excluded between through
 5   March 22, 2012, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local Code
 6   T-4.
 7
 8   Dated: February 29, 2012                 /s/ Paul Hemesath
                                              Paul Hemesath
 9                                            Assistant United States Attorney
                                              Counsel for Plaintiff
10
     Dated: February 29, 2012                 /s/ J. Toney
11                                            J. Toney
                                              Counsel for Defendant
12                                            Juan Manuel CUEVAS
13   Dated: February 29, 2012                 /s/ Gilbert Roque
                                              Gilbert Roque
14                                            Counsel for Defendant
                                              Hugo Chavez DELACRUZ
15
16                                      O R D E R
17          Finding that the interests of justice served by granting this
18   continuance outweigh the best interests of the public and the
19   defendant in a speedy trial, IT IS SO ORDERED.
20
21   Dated: March 2, 2012

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                                          _____________________________
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                                          MORRISON C. ENGLAND, JR.
24                                        UNITED STATES DISTRICT JUDGE
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